Case 1:22-cv-00893-LDH-TAM Document 88 Filed 06/30/23 Page 1 of 3 PageID #: 2019




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


 TROOPER 1,

                     Plaintiff,                           22-cv-00893 (LDH)(TAM)

                      v.                                  Oral Argument Requested

 NEW YORK STATE POLICE, ANDREW CUOMO,
 MELISSA DEROSA and RICHARD AZZOPARDI,

                         Defendants.


                    DECLARATION OF JULIE R. F. GERCHIK
        IN SUPPORT OF NONPARTY LINDSEY BOYLAN’S MOTION TO QUASH
             DEFENDANT ANDREW CUOMO’S DOCUMENT SUBPOENAS

      I, JULIE R. F. GERCHIK, hereby declare to the best of my knowledge:

        1.     I am an attorney duly licensed to practice law before all courts of the State of

 California, and a partner of Glaser Weil Fink Howard Jordan & Shapiro LLP.

        2.     I have been admitted to appear pro hac vice on behalf of Ms. Boylan in the above-

 captioned matter.

        3.     I submit this declaration in support of Non-Party Lindsey Boylan’s Motion to

 Quash Defendant Andrew Cuomo’s Document Subpoenas.

        4.     Attached hereto as Exhibit 1 is a true and correct copy of Luis Ferré-Sadurní’s and

 Grace Ashford’s January 13, 2022 New York Times article An Emboldened Cuomo Takes Swings

 at           Accusers             and           Investigators,           available            at:

 https://www.nytimes.com/2022/01/13/nyregion/andrew-cuomo-rita-glavin.html.

        5.     Attached hereto as Exhibit 2 is a true and correct copy of the OAG’s Report of

 Investigation into Allegations of Sexual Harassment by Governor Andrew M. Cuomo, dated

 August 3, 2021 (the “OAG Report”). The report and accompanying appendices are available at:
Case 1:22-cv-00893-LDH-TAM Document 88 Filed 06/30/23 Page 2 of 3 PageID #: 2020




 https://ag.ny.gov/press-release/2021/independent-investigators-find-governor-cuomo-sexually-

 harassed-multiple-women. Redacted videos and transcripts of sworn testimony taken for the

 investigation are available at: https://ag.ny.gov/CuomoIndependentInvestigation.

         6.    Attached hereto as Exhibit 3 is a true and correct copy of the Subpoena to Testify

 at a Deposition, dated March 30, 2023, served by Governor Cuomo on Ms. Boylan in connection

 with the Trooper 1 Action.

         7.    Attached hereto as Exhibit 4 is a true and correct copy of the Subpoena to Produce

 Documents, dated March 30, 2023, served by Governor Cuomo on Ms. Boylan in connection with

 the Trooper 1 Action.

         8.    Attached hereto as Exhibit 5 is a true and correct copy of a Notice to Subpoena,

 dated May 10, 2023, corresponding to a Subpoena to Produce Documents addressed to the Empire

 State Development Corporation.

         9.    Attached hereto as Exhibit 6 is a true and correct copy of a Notice to Subpoena,

 dated June 20, 2023, corresponding to a Subpoena to Produce Documents addressed to the Office

 of the Governor of New York State (“Executive Chamber”).

         10.   Attached hereto as Exhibit 7 is a true and correct copy of a Notice to Subpoena,

 dated May 11, 2023, corresponding to a Subpoena to Produce Documents addressed to Howard

 Zemsky.

         11.   Attached hereto as Exhibit 8 is a true and correct copy of a Notice to Subpoena,

 dated May 10, 2023, corresponding to a Subpoena to Produce Documents addressed to Elizabeth

 Fine.




                                                2
Case 1:22-cv-00893-LDH-TAM Document 88 Filed 06/30/23 Page 3 of 3 PageID #: 2021




        12.      Attached hereto as Exhibit 9 is a true and correct copy of a Notice to Subpoena,

 dated June 20, 2023, corresponding to a Subpoena to Produce Documents addressed to Lindsey

 for New York.

        13.      Attached hereto as Exhibit 10 is a true and correct copy of a Notice to Subpoena,

 dated May 15, 2023, corresponding to a Subpoena to Produce Documents addressed to Cade

 Leebron.

        14.      Attached hereto as Exhibit 11 is a true and correct copy of a Notice to Subpoena,

 dated June 20, 2023, corresponding to a Subpoena to Produce Documents addressed to Verizon.

        15.      Attached hereto as Exhibit 12 is a true and correct copy of the Impeachment

 Investigation Report to Judiciary Committee Chair Charles Lavine and New York State Assembly

 Judiciary    Committee     (the   “AJC”),      dated    November       22,   2021,   available    at:

 https://nyassembly.gov/write/upload/postings/2021/pdfs/20211122_99809a.pdf.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

 United States of America that the foregoing is true and correct and that this declaration is executed

 on June 30, 2023 in Los Angeles, California.



                                              /s/ Julie R. F. Gerchik
                                             Julie R. F. Gerchik




                                                   3
